       Case 2:16-cr-00100-RMP        ECF No. 64   filed 08/22/16   PageID.142 Page 1 of 2




 1
 2
 3
 4
                           UNITED STATES DISTRICT COURT
 5
                         EASTERN DISTRICT OF WASHINGTON
 6
 7
     UNITED STATES OF AMERICA,                        No. 2:16-CR-100-RMP-2
 8
 9                      Plaintiff,                    ORDER GRANTING UNOPPOSED
                                                      MOTION TO MODIFY
10 vs.                                                CONDITIONS OF RELEASE AND
11                                                    TO PERMIT TRAVEL
   MARY HUNT,
12
13                      Defendant.
14         Before the Court is Defendant’s Motion to modify the release conditions to
15   allow her to travel to Ocean Shores, Washington, from Monday August 29, 2016,
16   through September 9, 2016.
17         Defendant further moves the Court to modify her release conditions to
18   permit travel with the written permission of the United States Probation Office.
19         Defendant advises that neither the United States nor the United States
20   Probation Office object to Defendant’s request.
21         Defendant’s unopposed Motion, ECF No. 62, is GRANTED.
22         Defendant may travel to Ocean Shores, Washington, from August 29, 2016,
23   through September 9, 2016. She shall advise the U.S. Probation Office of her
24   contact information while she is out of the District.
25         In addition, condition of release No. 14 is modified to the extent that
26   Defendant may travel outside the eastern district of Washington on specific
27   occasions with prior notice to the U.S. Attorney’s Office and permission of the
28   U.S. Probation Office.



     ORDER - 1
       Case 2:16-cr-00100-RMP     ECF No. 64    filed 08/22/16   PageID.143 Page 2 of 2




 1         All other terms and conditions of previously-ordered conditions of release
 2   not inconsistent herewith to remain in full force and effect.
 3         IT IS SO ORDERED.
 4         DATED August 22, 2016.
 5
 6                                _____________________________________
                                            JOHN T. RODGERS
 7                                 UNITED STATES MAGISTRATE JUDGE
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28



     ORDER - 2
